      Case 4:21-cv-02155-YGR          Document 157        Filed 03/01/22      Page 1 of 13




March 1, 2022


Magistrate Virginia K. DeMarchi
San Jose Courthouse, Courtroom 2-5th Floor
280 South 1st Street, San Jose, CA 95113

       Re:      In re Google RTB Consumer Privacy Litigation, 21-cv-02155
                Joint Discovery Dispute – Google’s Search Terms, Custodians, and Non-Custodial
                Sources

Dear Magistrate Judge DeMarchi:

Plaintiffs and Defendant Google LLC (“Google”) submit this joint letter brief regarding Plaintiffs’
proposed search terms and custodians, and Google’s identification of non-custodial sources. The
parties have met and conferred several times, including on February 17, 2022, but have been unable
to resolve these specific disputes.

Exhibit A - B are lists of the disputed search terms and custodians prepared by Plaintiffs. Google
objects to Plaintiffs’ Exhibits. Exhibit C contains Google’s disclosed non-custodial sources, as
of February 17, 2022. Exhibits D - E are lists of the agreed and disputed search terms and
custodians prepared by Google. Plaintiffs object to Google’s Exhibits.

I.     PLAINTIFFS’ POSITION

Plaintiffs seek transparency on search terms, custodians, and non-custodial sources likely to have
relevant information. Google refuses to follow established practice of providing deduplicated
(uninflated) “hit reports” showing the number of unique hits for each term, or total number of
documents returned by terms, 1 despite Google providing these in two related cases, Brown and
Calhoun – a necessary step for meaningful discussion on what terms are effective. 2 Google also
refuses to discuss (or test) specific terms or custodians. Google’s non-custodial disclosures are
deficient and opaque.


1
 See ESI Protocol, ¶6(b) (Dkt. 125); 11/2/21 Hrg. Tr., pp. 45-46; Finisar v. Nistica, 13-CV-03345-
BLF (JSC), 2014 WL 12887160, *3 (N.D. Cal. Dec. 12, 2014); Apple, Inc. v. Samsung Elecs. Co.,
12-CV-0630-LHK PSG, 2013 WL 1942163, *3 (N.D. Cal. May 9, 2013) (“selecting search terms
and data custodians should be a matter of cooperation and transparency…”)..
2
 Markson v. CRST Int'l, Inc., EDCV171261FMOSPX, 2019 WL 7905896, *2 (C.D. Cal.
Dec. 16, 2019) (ordering defendant to run deduplicated hit reports); Calhoun v. Google, 4:20-
cv-05146-YGR, Dkt. 251-1.


                                                1
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 2 of 13
        Case 4:21-cv-02155-YGR          Document 157         Filed 03/01/22      Page 3 of 13




relevancy, proportionality, and burden. Google ignores its representation to be cooperative, 3
saying it won’t do anything the ESI Protocol doesn’t specifically require.

There also are seven terms (Nos. 66-72) Plaintiffs proposed to run over targeted custodians after
Google refused to create terms to capture information sought by certain RFPs. Google calls some
“irrelevant,” displaying (perhaps purposefully) a lack of knowledge about its own systems. For
example, Google AdMob is the mobile program through which Google advertises to users. (What
is AdMob - Google AdMob). A search for web history, or “myhistory,” w/15 of Admob will
identify documents on whether Google advertises to mobile users based on browsing history.

Plaintiffs haven’t been dilatory: Google would not engage in early, transparent discussions (and
still refuses transparency). Plaintiffs made detailed search-term proposals when Google would not.

C.       Google Refuses to Test Custodians Likely to Possess Relevant Information

Plaintiffs propose adding 23 custodians (Exhibit B) whose responsibilities are relevant to RTB
and the parties’ claims and defenses. This is based on analysis of Google documents, an employee
list (GOOG-HEWT-00001115), and public information. A summary of the relevance of these
individuals is below. 4 For 18 individuals in part two of Exhibit B, Google’s production suggests
they possess relevant information.

Google refuses to assess Plaintiffs’ proposals, e.g., with hit counts or other explanation; instead,
offering only conclusory statements that custodians weren’t assigned “solely” to RTB, reported
to/have overlapping duties with others, or are “apex” employees—all baseless arguments against
custodial document-collection. Google’s conclusory assertions are improper; deduplicated hit
counts may reveal custodians’ unique knowledge and relevance. Vasudevan Software, Inc. v.
Microstrategy Inc., 2012 WL 5637611, *6 (N.D. Cal. Nov. 15, 2012) (granting additional
custodians); Shenwick v. Twitter, Inc., 2018 WL 833085, *1 (N.D. Cal. Feb. 7, 2018) (ordering
inclusion of CEO’s files). Targeted ads are Google’s biggest revenue source; its development and
operation of RTB, and decision-making around user privacy and consents applicable to RTB,
likely involves dozens of employees.

Plaintiffs seek two elements of relief: 1) that the individuals listed below, who are directly involved
with RTB, be added as custodians; 2) for the remaining 18, Google produce additional descriptions
of their roles/work so the parties can have meaningful discussion on these potential custodians. 5




3
    Compare 11/2/21 Hrg Tr. pp.45-46 (Google’s promises re: transparency).
4
 Due to page constraints, and Google’s refusal to allow more robust explanations in Exhibit B,
Plaintiffs offer this overview here. Contrary to Google’s assertion below, Exhibit B properly
contains facts, not argument.
5
 Judge van Keulen approved 42 custodians in Brown and Calhoun. Those cases focus solely on
one Google service – Chrome. Here, data collected from all of Google’s services are implicated.


                                                  3
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 4 of 13
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 5 of 13
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 6 of 13
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 7 of 13
Case 4:21-cv-02155-YGR   Document 157   Filed 03/01/22   Page 8 of 13
       Case 4:21-cv-02155-YGR          Document 157        Filed 03/01/22      Page 9 of 13




III.    NECESSITY OF A HEARING

A.      Plaintiffs’ Position:

Because of the importance of the issues, which can only be discussed with brevity here, and their
connection to the parties’ ability to meet substantial production deadlines, Plaintiffs respectfully
request that the Court schedule a hearing on these disputes on any convenient date other than
March 14 or 15, 2022.

B.      Google’s Position

Google respectfully requests the Court convene a hearing to resolve these issues.


IV.     DISCOVERY CUT-OFF DATES FOR FACT AND EXPERT DISCOVERY

         Parties to substantially complete
                                                       April 21, 2022
         production of documents
         Fact Discovery Cut-Off                        December 15, 2022
         Close of Expert Discovery                     March 2, 2023



V.      COMPLIANCE WITH MEET AND CONFER REQUIREMENT

The Parties met and conferred via Zoom on January 7, January 19, February 2, and February 14,
and held their final lead counsel meet and confer on February 17. On Plaintiffs’ side Elizabeth C.
Pritzker, Karin Swope, Bethany Caracuzzo, and David Straite attended. On Google’s side Jeff
Gutkin, Aarti Reddy, and Colin Scott attended, among others.



PRITZKER LEVINE LLP
By: /s/ Elizabeth C. Pritzker
Elizabeth C. Pritzker (Cal. Bar. No. 146267)
Jonathan K. Levine (Cal. Bar. No. 220289)
Bethany Caracuzzo (Cal. Bar. No. 190687)
1900 Powell Street, Suite 450
Emeryville, CA 4608
Tel.: (415) 692-0772
Fax: (415) 366-6110
ecp@pritzkerlevine.com
jkl@pritzkerlevine.com
bc@pritzkerlevine.com




                                                 9
     Case 4:21-cv-02155-YGR          Document 157   Filed 03/01/22   Page 10 of 13




BLEICHMAR FONTI & AULD LLP

By: /s/ Lesley Weaver
Lesley Weaver (Cal. Bar No.191305)
Matthew Melamed (Cal. Bar No. 260272)
Anne K. Davis (Cal. Bar No. 267909)
Joshua D. Samra (Cal. Bar No. 313050)
555 12th Street, Suite 1600
Oakland, CA 94607
Tel.: (415) 445-4003
Fax: (415) 445-4020
lweaver@bfalaw.com
mmelamed@bfaw.com
adavis@bfalaw.com
jsamra@bfalaw.com

SIMMONS HANLY CONROY LLC
By: /s/ Jay Barnes    ___
Jason ‘Jay’ Barnes (admitted pro hac vice)
An Truong (admitted pro hac vice)
Eric Johnson (pro hac vice to be sought)
112 Madison Avenue, 7th Floor New York, NY 10016
Tel.: (212) 784-6400
Fax: (212) 213-5949
jaybarnes@simmonsfirm.com
atruong@simmonsfirm.com
ejohnson@simmonsfirm.com

DICELLO LEVITT GUTZLER LLC

By: /s/ David Straite
David A. Straite (admitted pro hac vice)
One Grand Central Place
60 E. 42nd Street, Suite 2400
New York, NY 10165
Tel.: (646) 993-1000
dstraite@dicellolevitt.com

Amy E. Keller (admitted pro hac vice)
James A. Ulwick (admitted pro hac vice)
Ten North Dearborn Street
Sixth Floor
Chicago, IL 60602
Tel.: (312) 214-7900
akeller@dicellolevitt.com
julwick@dicellolevitt.com



BOTTINI & BOTTINI, INC.


                                            10
     Case 4:21-cv-02155-YGR            Document 157   Filed 03/01/22   Page 11 of 13




By: /s/ Francis A. Bottini, Jr.
Francis A. Bottini, Jr. (SBN 175783)
Albert Y. Chang (SBN 296065)
Anne Beste (SBN 326881)
Yury A. Kolesnikov (SBN 271173)
Nicholaus Woltering (SBN 337193)
7817 Ivanhoe Avenue, Suite 102
La Jolla, CA 92037
Tel.: (858) 914-2001
Fax: (858) 914-2002
fbottini@bottinilaw.com
achang@bottinilaw.com
abeste@bottinilaw.com
ykolesnikov@bottinilaw.com
nwoltering@bottinilaw.com


COTCHETT, PITRE & McCARTHY LLP

By: /s/ Nanci E. Nishimura____________
Nanci E. Nishimura (Cal. Bar No. 152621)
Brian Danitz (Cal. Bar. No. 247403)
Karin B. Swope (admitted pro hac vice)
840 Malcolm Road, Suite 200
Burlingame, CA 94010
Tel.: (650) 697-6000
Fax: (650) 697-0577
nnishimura@cpmlegal.com
bdanitz@cpmlegal.com
kswope@cpmlegal.com

Attorneys for Plaintiffs




                                              11
Case 4:21-cv-02155-YGR   Document 157    Filed 03/01/22     Page 12 of 13




                                     COOLEY LLP



                                     By: /s/ Jeffrey M. Gutkin
                                     Michael G. Rhodes
                                     Jeffrey M. Gutkin
                                     Aarti G. Reddy
                                     Kyle C. Wong
                                     Kelsey R. Spector
                                     Colin S. Scott
                                     3 Embarcadero Center, 20th floor
                                     San Francisco, CA 94111-4004
                                     Tel.: 415-693-2000
                                     Fax: 415-693-2222
                                     rhodesmg@cooley.com
                                     jgutkin@cooley.com
                                     areddy@cooley.com
                                     kwong@cooley.com
                                     kspector@cooley.com
                                     cscott@cooley.com

                                     Robby L.R. Saldaña
                                     1299 Pennsylvania Avenue NW
                                     Suite 700
                                     Washington, DC 20004-2400
                                     Tel.: 202-776-2109
                                     Fax: 202-842-7899
                                     rsaldana@cooley.com

                                     Attorneys for Defendant GOOGLE LLC




                                12
      Case 4:21-cv-02155-YGR          Document 157        Filed 03/01/22        Page 13 of 13




              ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



        I, Elizabeth C. Pritzker, attest that concurrence in the filing of this document has been

obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

and correct. Executed this 1st day of March, 2022, at Emeryville, California.


                                              /s/ Elizabeth C. Pritzker
                                              Elizabeth C. Pritzker




                                                 13
